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15

16                               UNITED STATES DISTRICT COURT
17                                   DISTRICT OF NEVADA
18   SAGE HUMPHRIES, GINA MENICHINO,
     ROSEMARIE DeANGELO, DANIELLE
19   GUTIERREZ, JANE DOE 1,
     and JANE DOE 2                                Case Number: 2:21-cv-01412-ART-EJY
20
                   Plaintiffs,                     INDEX OF EXHIBITS IN SUPPORT OF
21                                                 PLAINTIFFS’ MOTION FOR SUMMARY
            vs.                                    JUDGMENT
22
     MITCHELL TAYLOR BUTTON and
23   DUSTY BUTTON,
24                 Defendants.
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       PLAINTIFFS’ INDEX OF EXHIBITS IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                              SUMMARY JUDGMENT
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            Pursuant to Local Rule IA 10-3(d), Plaintiffs, by and through their undersigned
 1

 2   attorneys, submit this Index of Exhibits in support of their Motion for Summary Judgment.

 3   The Exhibits are attached to the Declaration of Sigrid S. McCawley in Support of Plaintiffs’

 4   Motion for Summary Judgment.
 5
        Exhibit                             Description                                 Date
 6
           A       2023.09.29 Deposition of Dusty Button (Filed Under Seal)         9/29/2023
 7         B       2023.09.26 Deposition of Taylor Button (Filed Under Seal)        9/26/2023
           C       2009.11.06 Ballet News Article                                   11/6/2009
 8
           D       2011.02.28 Dance Spirit Article                                  2/28/2011
 9         E       2013.09.14 Boston Globe Article                                  9/14/2013
           F       2014.08.13 Glamour Article                                       8/14/2014
10         G       2014.11.05 Dance Life Article                                    11/5/2014
           H       2015.02.01 Pointe Magazine Article                               2/1/2015
11
           I       2015.06.30 Dance Magazine Article                                6/30/2015
12         J       2016.04.25 Dance Magazine Article                                4/25/2016
           K       2017.12.06 Red Bull Instagram Post                               12/06/2017
13         L       2017.12.28 Dance Magazine Article                                12/28/2017
          M        2021.06.16 WBTW Article                                          6/16/2021
14         N       Dance Informa Article
15         O       Dance Informa Article
           P       Dance Informa Article
16         Q       2021.07.29 New York Times Article                                7/29/2021
           R       2021.09.28 Daily Mail Article                                    9/28/2021
17         S       2021.09.30 CNN Article                                           9/30/2021
18         T       2021.12.01 Pointe Magazine Article                               12/01/2021
           U       2022.04.05 Cosmopolitan Article                                  4/5/2022
19         V       2022.05.27 Good Morning America Interview                        5/27/2022
          W        2022.08.02 Boston Magazine Article                               8/02/2022
20         X       Button et al. v. McCawley Amended Complaint                      7/12/2024
21         Y       Button et al. v. The New York Times Co. et al. Complaint         7/29/24
           Z       Button et al. v. Breshears Amended Complaint                     8/4/2024
22        AA       Button et al. v. Humphries et al. Complaint                      8/7/2024
          BB       Button et al. v. Roe et al. Amended Complaint (Filed Under       9/18/2024
23                 Seal)
          CC       Button et al. v. Doherty et al. Amended Complaint                11/06/2024
24
          DD       Expert Report of Dr. Chitra Raghavan Regarding Gina              8/26/2023
25                 Menichino (Filed Under Seal)
          EE       Expert Report of Dr. Chitra Raghavan Regarding Danielle          8/26/2023
26                 Gutierrez (Filed Under Seal)
          FF       Expert Report of Dr. Chitra Raghavan Regarding Rosie             8/26/2023
27
                   DeAngelo (Filed Under Seal)
28

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                              SUMMARY JUDGMENT
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         GG       Expert Report of Dr. Chitra Raghavan Regarding Sage            8/26/2023
 1
                  Humphries (Filed Under Seal)
 2       HH       Expert Report of Dr. Chitra Raghavan Regarding Jane Doe 1      8/26/2023
                  (Filed Under Seal)
 3        II      2012.06.19 Police Report filed with the Hillsborough County    6/19/2012
                  Sheriff’s Office
 4        JJ      2018.05.15 Police Report filed with the Hillsborough County    5/15/2018
 5                Sheriff’s Office
         KK       2018.08.23 Incident Report filed with the Somerville Police    8/23/2018
 6                Department

 7
     Dated: January 6, 2025                    Respectfully Submitted,
 8

 9

10                                             BOIES SCHILLER FLEXNER LLP

11
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                                   CERTIFICATE OF SERVICE
 1

 2           The undersigned hereby certifies that the foregoing Index of Exhibits was served on

 3   January 6, 2025 via the Court’s CM/ECF electronic filing system addressed to all parties on

 4   the e-service list.
 5

 6
                                                  /s/ Sigrid S. McCawley
 7                                                Sigrid S. McCawley
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                               SUMMARY JUDGMENT
